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           EXHIBIT A
       Case 2:20-cv-03787-JDW Document 1-4 Filed 08/04/20 Page 2 of 27
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF'PENNSYLVANIA



THE CONSTITUTION PARTY                                  CIVI      ACTION
OF PENNSYLVANIA' et al.,

                            Plaintiffs,

                        v

CAROL AICHELE, et al.,

                            Defendants.                 NO.12-2726


                                                 ORDER

        AND NOW, this I't day of February,2018, upon consideration of the Third Circuit's

opinion in Constitution Party of Pa. v. Cortes , 877 F .3d 480 (3d Cir.2017) and the parties' joint

proposed modifications to this court's June 30, 2016 order (Doc. No.          97),lT IS HEREBY

ORDERED that the parties' request for this court to adopt their proposed modifications is

GRANTED       as   follows:

        This order shall replace the order I issued on June 30,2016. (Doc. No. 97.)

        Until such time     as the Pennsylvania Legislature enacts a permanent measure amending         or

modifying the process to place the plaintiff political bodies on the general election ballot and this

change is signed by the Governor of Pennsylvania, the following rules shall apply to the         plaintiff

political bodies with respect to securing placement of their candidates on the general election

ballot in Pennsylvania.

        1.      Candidates for the offices listed below shall present to the Secretary of the

Commonwealth every August I nomination papers containing at least as many valid signatures

of qualified electors of the state or the electoral district,   as the case may be, as listed below:
       Case 2:20-cv-03787-JDW Document 1-4 Filed 08/04/20 Page 3 of 27
         QraeSEQ*ffiQ2?969S DnsmpntrhE Filcd 0I/64/?0 pagc I ot ?L



                 a.   President of the United States: Five thousand.

                 b.   United States Senate: Five thousand.

                 c.   Governor: Five thousand.

                 d.   Lieutenant Governor: Two thousand five hundred.

                 e.   Treasurer: Two thousand five hundred.

                 f.   Auditor General: Two thousand five hundred.

                 g.   Attorney General: Two thousand five hundred.

                 h.   Justice of the Supreme Court: Two thousand five hundred.

                 i.   Judge of the Superior Court: Two thousand five hundred.

                j.    Judge of the Commonwealth Court: Two thousand five

                      hundred.

                k.    For any other office to be filled by the vote of the

                      electors of the state at large: Two thousand five hundred.

        2.   Candidates for non-statewide offices shall present to the Secretary of the

Commonwealth by August 1 nomination papers containing at least as many valid signatures of

qualified electors of the state or the electoral district, as the case may be, as set forth by

2s P.S. $ 2er l(b).

        3.      No candidate of the plaintiff political bodies shall be assessed costs under

25 P.S. 52937.

        4.      This Order is intended to replace the signature requirement imposed by

25 P.S. $ 291l(b). The defendants are enjoined from enforcing this signature requirement in

conjunction with the objection procedure set forth in 25 P.S. 5 2937 as applied to nomination
      Case 2:20-cv-03787-JDW Document 1-4 Filed 08/04/20 Page 4 of 27
         %ae58Q*uF62?9GS Dffirrusntdr8                     Filcd   0I/6fl?0    Pagc g ef ?L



papers submitted by the plaintiffs Constitution Party of Pennsylvania, Green Party   of
Pennsylvania and Libertarian Party of Pennsylvania and by their candidates for office.

       5. All other provisions of the Pennsylvania    Election Code that do not conflict with this

Order continue to apply to the candidates of the plaintiff political bodies.




                                                                BY THE COURT:


                                                               /s/ Lawrence F. Stengel
                                                               LAWRENCE F. STENGEL, C.J
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           EXHIBIT B
               Case 2:20-cv-03787-JDW Document 1-4 Filed 08/04/20 Page 6 of 27
                       II'IINOR FOLITICAL PARTY AND POUNCAL BODY
                    SIGNATURE REQUIREMENTS FOR STATEUYIDE OFF]CES
                           CENERAL ELECTIOiI - NOVEIIBER 3,2A20


                 Oflioe                                                Sionaturce

             President of the United States            5 000

             Attomey General                           2,500

             Auditor'Generel                           2,500

             Stgte Treasurer                           2,500



 *These signature reguirernents
                                    have been updated as a Fgult of a federal distict court oder
      that established nal eignature requlrements for nominatlon papers filed by statewide
    candidates from the Constitution Pa$, the Green PaO and the Libertartan Party. See
 Order, Canstttutlon Partyv. Ccirt6s, No. 12-2726,Doc. f.lo. 115 (E.D. Pa. February 1,201S)
  Because having different nomination requinments for dlfferent political bodies raisee equal
    protection concerns under both the Federal snd Stata Constitutions, and bimuae othar
    political bodiEe would likely be able to obtain relief similar to thEt already afforded to the
  &nstitutlon Party plaintifb, the Seeratery of thg Cornmonwealth haa decided to epply
    tfte new elgnaturu requlremontr to all nomination paper submitted by etntewldi
 polltlcal body candidahs. However, notwltlritandlng the decialon of fire gec'lstary of
the Commonwealth to apply the lower elgnatrre requircment b all nominaflon pepene
   for all polltlcai bodies for atatewida candidatec, it rpmalns porslble that lndlvidual
 qualified eleetons may flle obfecflonr to nomlna0on papen in court on tre bagls that
        the fiederel court order doer not erprcaaly apply to rtrtEwlde polldcal body
    candidatee other than the trrm poll0cal bodlee who brought 0re litigation. ln the
event that obJecdons to a nomlnation pep€rwete ltled by a qualified elector, the sourt
  would determine on ito own authorltywhether to enfrorce the rlgnatrrc requirement
                                   lmpced by eectlon 9$,l(bf.
 Case 2:20-cv-03787-JDW Document 1-4 Filed 08/04/20 Page 7 of 27




       MINOR FOLITICAL PARTYAND POLITICAL BODY
SIGNATURE REQUIREUENTS FOR REPRESENTATIVE IN CONSRESS
           GENERAL ELECTIO]{ - NOVEilBER 8, 2A20


                              $ignaturce
                      Dlstrlct   NeedeC

                         1        3,382
                         2        3,1e2
                         3        5,753
                         4        4,231
                         5        3,973
                         e        3,056
                         7        2,917
                         I        2,713
                         I        2,976
                        10        2,98E
                        11        3,276
                        12        1,800
                        13       3,571
                        14       3,029
                        16       3,30S
                        18       2,707
                        17       3,664
                        18       4,030
            Case 2:20-cv-03787-JDW Document 1-4 Filed 08/04/20 Page 8 of 27
                    ]IIINOR POLITICAL PARTY AND POLITICAL BODY
           SISNATURE REQU|REilENTS FOR SENATOR IN THE oENERAL ASSETIBLY
                        SENERAL ELECTION . ilOVEiTBER 3, 2O2O


           Slgnaturu
Dlatrlct    Needed

   1         2,292
   3         1,980
   5         1,291
   7         2J7A
   I         1,418
  11         1,969
  13         1,332
  15         1,258
  17         l,m
  18         1,613
  21         2,031
  23         1,718
  26         1,629
  27         1,ffiz
  29         1,951
  31         1,76
  33          s00
  35         1,388
  37          649
  3g         2,2U
  41          501
  43         2,300
  46         1,781
  47         1,913
  49         1,188
            Case 2:20-cv-03787-JDW Document 1-4 Filed 08/04/20 Page 9 of 27
                 IilINOR POLINCAL PARTY AND POLITICAL BODY
 SIGNATURE REQUIREMENTS FOR REPRESENTATIVE IN THE GENERAL ASSEIIIBLY
                     GENERAL ELECTTON . NOVEMBER t,2O2A


           Signatrrc*                    $ignaturec                      Signafurcr
Disjflct    Needed               Dlrtrlct Naedad                Dlstrlct      Needed

   1          300                  41        340                   81          312
   2          300                  42        479                  82           309
   3          406                  43        314                  83           300
   4          348                  44        307                  84           3G4
   c          3e2                  45        424                  85           300
   6          355                  4:6       316                  86           324
   7          492                  47        326                  87           371
   I          325                  48        300                  88           323
   I          300                  49        300                  89           392
  10          322                  50        300                  g0           382
  11          900                  51        300                  91           3tg
  12          392                  52        300                  g2           391
  13          s00                  53        300                  93           361
  14          326                  64        327                  9*           316
  15          308                  55        300                  g5           300
  16          371                  56        353                  g6           307
  17          34e                  57        322                  97           370
  18          300                  58        300                  98           312
  19          359                  5g        374                  eg           300
  2A          441                  60        gEz                  100          300
  21          400                  61        364                  101          311
  22          300                 62         300                  102          380
  23          459                 63         304                  103          309
  24          507                 64         300                  104          308
  26          300                 65         32e                  105          318
  26          300                 6e        u1                    106          300
  27          391                 67         317                  fi7          300
  28          367                 68         323                  108          361
  29          332                 69        381                   109          300
  30          346                 7A        ?22                   110          300
  31          412                 7,        300                   111          326
  32          458                 72        300                   112          342
  33          300                 73        393                   119          334
  34          426                 74        900                   114          300
  35          304                 75        43S                   115          300
  36          384                 7A        q00                   116          300
  97          371                 77        300                   117          368
  38          401                 78        s79                   118          319
  3g          300                 79        303                   119          300
  4A          375                 80        958                   na           334
           Case 2:20-cv-03787-JDW Document 1-4 Filed 08/04/20 Page 10 of 27
                      POLITICAL PARTV ANO POLITICAL BODY
                        ITTINOR
 SIGNATURE REQUIREMENTS FOR REPRESENTATIVE IN THE GENERAL ASSEMBLY
                   GENERAL ELECTION - NOVEMBER 3, 2O2O


           Signeturcc                    9ignaturca                       Slgnafircr
District    Needed                Dlstrlct   Needed            Dlstilct    Needed

 121          3m                   161        389                241          45e
 122          300                  162        390                2AZ          300
 123          300                  163        309                293          457
 124          359                  $4         356
 125          386                  165        333
 128          308                  166        47e
 127          3oCI                 187        343
 128          335                  168        348
 129          3m                   168        3W
 130          308                  174        300
 131          312                  171        u8
  132         300                  172        300
 133          s08                  173        300
 1U           325                  174        300
 135          318                  176        491
 136          300                  17e        300
 137          3m                   177        300
 138          335                  178        353
 139          u1                   479        300
 140          350                  180        300
 141          300                  181        428
 142          364                  182        565
 143          947                  183        300
 144          310                  1U         349
 145          312                  185        403
 146          900                  180        516
 147          31e                  187        s21
 148          537                  188        458
 149          4e7                  189        300
 150          311                  190        300
 151          307                  191        409
 152          330                  192        502
 153          474                  193        328
 154          532                  194        455
 155          369                  195        511
 156          359                  196        393
 157          964                  197        310
 158          313                  198        444
 1Sg          300                  1sg        300
 160          318                  200        652
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           EXHIBIT C
Case 2:20-cv-03787-JDW Document 1-4 Filed 08/04/20 Page 12 of 27




                                                         PENNSYLVANIA

                                           OFFICE OF THE GOVERNOR



                            PROCLAMATION OF DISASTER EMERGENCY

                                              March 6, 2020

          WHEREAS, a novel coronavirus (now known as "COVID-I9") emerged in ll'uhan,
   China, began infecting humans in December 2019, and has since spread to 89 countries,
   including the United States; and

           \YHEREAS, the l(orld Health Organization and the Centers for Disease Control and
   Prevention ('CDC") have declared COVID-|| a "public health emergency of international
   concem," and the U.S. Department of Health and Human Services ("HHS") Secretary has
   declared that COVID-|9 ueates a public health emergency; and

           I'VHEREAS, the Commonwealth of Pennsylvania ("Commonwealth") has been working
   in collaboration with the CDC, HHS, and local health agencies since December 2019 to monitor
   and planfor the containment and subsequent mitigation of COVID-|9; and

               WHEREAS, on February I, 2020, the Commonwealth's Department of Health sctivated
   its Department Operations Center at the Pennsylvania Emergency Management Agency's
   headquarters to conduct public health and medical coordinationfor COVID-|9 throughout the
   Commonwealth; and

               WHEREAS,     on March 4, 2020, the Director of the Pennsylvania           Emergency
   Management Agency ordered the activation of its Commonwealth Response Coordination
   Center in suppott of the Department of Health's Depailment Operations Center, to maintain
   situational awareness and coordinate the response to any potential COVID-L9 impacts across
   the Commonwealth; and

               IIHEREAS, as of March 6, 2020, there arc 233 confirmed and/or presumed positive
   cases of COVID-(9       in the United States, including 2 presumed positive cases in the
   Commonwealth; and

           WHEREAS, while it is anticipated that a high percentage of those alfected by COVID-
   19   will
           experience mild influenza-like symptoms, COVID-|9 is a disease capable of causing
   severc symptoms or loss of life, particularly to older populations and those individuals with pre-
   existing conditions; and

          WHEREAS, it is critical to preparefor and respond to suspected or conJirmed cases in
   the Commonwealth and to implement measares to mitigate the spread of COVID-|9; and

           IYHEREAS, with 2 presumed posirtve cases in the Commonwealth as of March 6, 2020,
   the possible increased threat  from COVID-|9 constitutes a threat of imminent disaster to the
   health of the citizens of the Commonwealth; and

           WHEREAS, this threat of imminent disaster and emergenqt has the potential to cause
   signiJicant adverse impacts upon the population throughout the Commonwealth; and

               WHEREAS, this threat of imminent disaster and emergency has already caused schools
   to close, and will likely prompt additional local measures, including affected county and
   municipal govetnments to declare local disaster emergencies because of COVID-|9; and
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        WHEREAS, this threat of imminent disaster and emergency situation throughout the
   Commonwealth is of such magnitude and severity as to render essential the Commonwealth's
   supplementation    of emergenq, tesources and mutual aid to the coanty and municipal
   govetnments of this Commonwealth and to require the activation of all applicable state, counly,
   and manicipal emergency response plans.

           NOI'V THEREFORE, pursuant to the provisions of Subsection 7301(c) of the Emergency
   Management Services Code, 35 Pa C.S. S 7101, et seq., I tlo hereby proclaim the existence of a
   disaster emergenqt throughout the Commonwealth.

          FaRTHER, I hereby authorize the Pennsylvania Emergency Management Agency
   Direclor or his designee, to assume command and control of all statewide emergency operations
   and authorize and direct thst all Commonwealth departments and agencies utilize all available
   tesources and personnel as is deemed necessary to cope with this emeryency situation.

        FaRTHER, I hereby transfer up to $5,000,000 in unused appropriated funds to the
   Pennsylvania Emergency Management Agency for Emergenqt Management Assistance
   Compact expenses related to this emergency, to be decreased as conditions require, pursuant to
   the provisions of section 7604(a) of the Emergency Management Services Code, 35 Pa C.^L $
    7604(a). In addition, I hereby transfer up to 920,000,000 in unused appropriatedfunds, to be
   decreased as conditions require, to the Pennsylvania Emergency Management Agenq, purcuant
   to section I 508 of the Act of April 9, I 929 (P.L.343, No. I 76) (the Fiscal Code), 72 P.S. S I 508.
   The aforementionedfunds shall be usedfor expenses authorized and incuned related to this
   emergencl), Thesefunds shall be credited to a special account established by the Office of the
   Budget. I hereby direct that any funds transferred herein that remain unused after all costs
   related to this emergency have been satisJied shall be rcturned to the General Fund

            FaRTHER, All Commonwealth agencies purchasing supplies or services in response to
   this emergency are authorized to utilize emergenq) procurcment procedures setforth in Section
    516 of the Commonwealth Procurement Code, 62 Pu C.S. $ 516. This Proclamation shall seme
   as the y)fitten determination of the basisfor the emergency under Section 516.

          FURTHER,    I hereby suspend the provisions of any regulatory statute prcscfibing the
   procedures for conduct of Commonwealth business, or the orders, rules or regulations of any
   Commonwealth agency, if sttict compliance with the provisions of any statute, order, rule or
   regulation would in any tay prcvent, hinder, or delay necessary action in coping with this
  emergency. Commonwealth agencies may implement emergency assignments without regard to
  procedures required by other laws, except mandatory constitutional requircments, pertaining to
  performance of public work, entering into contracts, incuning of obligations, employment of
  temporary workers, rental ofequipment, purchase ofsupplies and matefials, and expenditures
   of publicfunds.

          FURTHER, pursuant to the povterc vested in me by the Constitution and laws of the
   Commonwealth punuant to       5I Pu C.S. S 508, I hereby authorize the Adjutant General of
  Pennsylvania to place on state active duQt for the duration of the emergency disaster
  proclamation, such individuals and anits of the Pennsylvania National Guard, for missions
  designated by the Pennsylvania Emergency Management Agency, as are needed to address the
  co nsequences of th e aforeme ntioned emergency.


          FURTHER, I authorize the Commissioner of the Pennsylvania State Police to use all
   available tesources and personnel in whatever mannet he deems necessaty during this
   emergency to assist the actions of the Pennsylvania Emergency Management Agency in
   addressing the consequences of the emetgency,

        FaRTHER, I hereby authorize the Secretary of the Pennsylvania Department of Health,
  in her solediscretion, to suspend or waive any provision of low or regulation which the
  Pennsylvania Depattment of Health is authorized by law to administer or enforce, for such
  length of time as may be necessary to respond to lhis emergency.
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          FARTHER, I hereby authorize the Secrelary of the Pennsylvania Department of
   Education, in his sole discretion, to suspend or waive any provision of law or regulation which
   the'Pennsylvania Department of Education is authorized by law to administer or enforce, for
   such length of time as may be necessary to respond to this emergency.

            FaRTHER, if investigations made on my behalf determine thst the Commonwealth
   needs greater flexibility in the application of state and federal motor carrier regulations to
   accommodate truck drivers involved in emergenqt activities during this emergenqt, I hereby
   direct the Commonwealth Department of Transportation to waive or suspend any laws orfederal
   or state regulations related to the drivers of commercial vehicles.

           FaRTHER, I hereby direct that the applicable emergency response and recovery plans
   of the Commonwealth, counties, municipalities and other entities be activated as necessary and
   that actions taken to implement those plans be coordinated through the Pennsylvania
   E merg ency Man ag eme nt A g en cy.

           STILL FURTHER, I hereby urge the governing bodies and executive ol/icers of all
   political subdivisions afrected by this emetgenqt to act as necessary to meet the current
   exigencies as legally authorized under this Proclamation, namely, by the employment of
   temporary workerc, by the rental of equipment, and by entefing into such contructs and
   agreements as may be required to meet the emergency, all without regard to those time
   consuming procedures and formalities normally prescribed by law, mandatory constitutional
   requirement excepted

                                              GIVEN under my hand and the Seal of             the
                                              Governor, at the City of Hatisburg, this
                                              sixth day of March in the year of our Lord two
                                              thousand twenty, and of the Commonwealth the two
                                              h   undred and forTy foarth.
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           EXHIBIT I)
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                                     COIVIIMONWEAL     PENNSYTVANIA

                                         OFFICE OF THE GOVERNOR




                                              ORDER OF

   THE GOVERNOR OF THE COMMONWEALTH OF PENNSYLVANIA REGARDING THE
         CLOSURE OF ALL BUSINESSE^S THATARE NOT LIFE SASTAINING

      WHEREAS, the l{orld Health Organization and the Centers for Disease Control and
   Prevention ('CDC") have declared a novel coronavirus ("COVID-||") a "pablie health
   emergewy of international concern," and the U.S. Department of Health and Human Senices
   ("HHS') Secretary has declared that COVID-|9 creates a public health emergency; and
       WHEREAS, as of March 6, 2020, I proclaimed the existence of a disaster emetgenq)
   throughout the Commonwealth pursuant to 35 Pa C.S. $ 7301(c); and

         I.VHEREAS,   I   am charged with the responsibility to address dangers facing the
   Commonwealth of Pennsylvania that resultfrom disasters. 35 Pu C,S. S 7301(a); and

      I'YHEREAS, in addition to general powers, during a disaster emergency I am aathorized
   speciJically to control ingress and egress to and from a disaster area and the movement of
   persons within il and the occupancy of premises therein; and suspend or limit the sale,
   dispensing, or transportation of alcoholic beverages, Jirearms, and combustibles. 35 Pa C.S. $
   7301Q; and

       WHEREAS, in executing the extraordinary powerc outlined above, I amfurther authorized
   during a disaster emetgenqt to issue, amend and rescind executive orders, proclamations and
   regulations and those directives shall have the force and effect of law. 3 5 Pa C.S. $ 730 I (b);
   and

       WHEREAS, in addition to my authorily, my Secretary of Health has the authority to
   determine and employ the most efJicient andpractical meansfor the prevention and suppression
   ofdisease 7l P.S. S 532(a),71 P.S. 1403(a); and
      I'VHEREAS, these means include isolation, quarantine, and any other control measurc
   needed 3.5 P.S. $i 521. 5.

      NOI'V THEREFORE, putsuant to the authority vested in me and my Administration by the
   laws of the Commonwealth of Pennsylvania, I do hereby ORDER and PROCLAIM asfollows:

   Section   I:   Prohibition on Operotion of Businesses that are not Life Sustoining

           AII prior orders and guidance regartling business closures are hereby supersetled.

           No person or entitJt shall operate a place of business in the Commonwealth that is not a
   Iife sustoining business regardless of whether the business is open to members of the public.
   This prohibition does not apply to virtual or telework operations (e.g., workfrom home), so long
   as social distoncing and other mitigation meosures ore followed in such operations.


           Lde sustaining businesses may remain open, but they must follow, ot A minimum, the
   sociol tlistancing practices and other mitigation measures deJined by the Centers for Disease
   Control to protect workers and patrons. A list of life sustaining businesses thot may rcmoin
   open is attached to and incorporated into this Order.
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          Enforcement actions will be taken agdnst non-life sustaining businesses that are out   of
   compliance effective March 21, 2020, at l2:01 o.m-

    Section   2:    Prohibition on Dine-In Facilities including Restaurants ond Bars

          All restaurants and bars previously have been ordered to close their dine-infacilities to
   help stop the spread of COVID-|9.

           Businesses thot offer carry-out, delivery, and drive-through food flnd bevemge service
   may continue, so long as social distancing and other mitigation medsures are employetl to
   protect workers and patrons. Enforcement actions will be taken against businesses that are out
   of compliance effective March 19, 2020, ot I p.m.

   Section   3:     Effective Date and Duration

             This onler is elfective immediately md will remain in elfect untilfarther notice.



                                                  GIVEN under my hand and the Seal        of the
                                                  Governor,   at the city of Harrisburg, on this
                                                  nineteenth day of March two thousand twenty, the
                                                  year of the commonwealth the two hundred and
                                                  forty-fourth.

                                                    ail
                                                  TOM I'YOLF
                                                            l)(
                                                  Governor
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          EXHIBIT E
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                                                            OF PENNSYLVANIA

                                                 OFFICE OF THE GOVERNOR




                                                     ORDEROF

                  THE GOVERNOR OF THE COMMONWEALTH OF PENNSYLVANIA

                                 FOR INDIVIDUALS TO STAY AT HOME

         IVHEREAS, the Workl Health Organizotion and the Centers _for Disease Control and
   Prevention ('CDC") have declureda novel coronavirus ("COVID-19")a "public healtlt
   emergency of international concem," and the U.S. Department of Health and Human Services
   ('HHS") Secretary has declared that COVID-|9 crcotes a public health emergency; and

          WHEREAS, as of March 6, 2020, I proclaimed the existence of a disoster emetgency
   throughout the Commonwealth pursuant to 35 Pa. C.S. g 7301(c); and

                            I
        IYHEREAS, am charged with the responsibility to afulress dangers facing the
   Commonwealth of Pennsylvania that resaltfrom clisusters. 35 Pa. C.S, g 7301(l; anrl

             I'VHEREAS,     in   oddition   to             a disoster emergency I om
                                                 general pov'erc, during
                                                  to and from a disoster orea and the
   outhorized speciJicolly to control ingress and egress
   movement of persons within it and the occupancy of premises lherein. 35 Pa. C.S. $
   7301(l); and

           WHEREAS, in executing the extraordinary powerc outlined above, I am .further
   authorized during a disuster emergency to issue, amend and rescind executive orders,
   proclamotionsandregulationsandthosedirectivesshallhavetheforcenndeffectoflaw, 35 Pa.
   C.S. $ 7301(b); and

           WHEREAS, in addition to my authority, my Secretary of Heolth has the authority to
   determine and employ the most fficient and practical meansfor the prevention ontl suppression
   of diseose. Z1 P.,S. $ 532(a), 7I P.S. 1403(a); ond

         IVHEREAS, these means include isolation, quarantine, and any other control messure
   needed.35P.S. S 521.5.

          NOI'V THEREFORE, pursuant to the authority vested in me and my Administration by
   the laws of the Commonweolth of Pennsylvania, I do hereby ORDER and PROCLAIM as
  follows:

   Section   I:   Order to Stty at Home

          AII individuals residing in Allegheny County, Bucks County, Chester Counly, Delaware
   County, Monroe County, Montgomery County, and Philadelphia County are ordered to stay at
   home except as needed to access, support, or provide life sustaining business, emergency, or
  government semices, For employees of life sustaining businesses thst remain open, the
  following chikl care semices may remain open: group and family chikl core provitlers in a
   residence; chikl carefacilities operating undet a waiver gronted by the Department of Human
   Services Office of Chikl Development and Early Learning; and, part-day school oge
  prugrams operating under an exemption fiom the March 19, 2020 business closure Orders.
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           Alist of life sustaining businesses that remain open is attached to and incorporated into
   this   Order.   In  addition, basinesses that are permitted to remain open include those
   granted exemptions prior to orfollowing the issusnce of this Ortler.

          Individuals leaving their home or place of residence to access, support, or provide life
   sustaining semices for themselves, another person, or a pet must employ social distancing
   ptactices as deJined by the Centers for Disease Control and Prevention. Individuals are
   permitted to engage in outtloor activities; however, gatherings of individuals outside of the home
   are generally prohibited except as may be requiredto access, supporl or provide life sustoining
   services as oatlined above.

           Effircement of this Order will commence at 8:00 PM on Monday, March 23, 2020.

   Section 2: Effective Dilte and Duration

           Thisorder     is effectiveimmediotely andwill rcmain     in effictfor a period of two
   weeks, specifically   until April 6, 2020.


                                                GIVEN under my hand and the Seal of             the
                                                Governor, at the city of Harrisburg, on this twenly-
                                                third day of March two thousand twenty, the year
                                                of the commonwealth the two hundred and       fofi-
                                               fourth.
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              pennsytvania
              DEPARTI"1F|.{T   0F STATF


March 25,2O2O

Pennsylvania Provides Limited Suspension of In-person Regulatory Requirements for Notaries for Real
Estate Transactions

The Department temporary and limited suspension of 57 Pa.C.S. 5 306, which requires physical presence
of notaries.

For personal real estate transactions, the Governor approved a temporary notarial rule suspension be
granted only for real estate transactions that were already in process (e.g. agreement of sale completed
for residential property and only mortgage closing needs to take place). This limited suspension, with
the safeguards described below, will enable real estate professionals to complete transactions begun
prior to the disaster declaration, but protect Pennsylvanians currently sheltering in place by limiting
visitors to private homes and enabling real estate professionals to comply with the Governor's directive
regarding essential vs. non-essential businesses.

For all commercial real estate transactions, the Governor approved a temporary suspension of 57 Pa.C.S,
5 306 in conjunction with the safeguards described below, for both transactions that were already in
process as well as new transactions during the emergency period. These suspensions will allow
transactions that may be needed to assist in responding to this public health exigency, including possible
needs for emergency allocation or transfer of property during this disaster declaration, while also
protecting Pennsylvanians and enabling real estate professionals to comply with the Governor's
directive regarding essential vs. non-essential businesses.

Notaries must execute all notarial acts (including acknowledgments) in accordance with all other
requirement of the Revised Uniform Law on Notarial Acts (RULONA).

The safeguards contemplated by the ULC and the recent RON legislation (including multilayers of
identity verification, use of tamper-evident technology and an audio-video recording of the notarial act)
must still be required.

             who are usin                                                    onal   a   earance m

    1) become an approved Pennsvlvania electronic notarv (free application)
    2) use an e-notarv solution alreaidv approved bv the Department that offers remote      notarization
         technologv. A list of the approved remote online notarization vendors can be found on the
                                             Remote Notarization
    3)   indicate in the notarv certificate that the notarial act was oerformed bv means of
         communication technologv. The following statement will satisfv that requirement - "This
         notarial act involved the use of communication technologv."
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                                           COMIVONWEALTH OF PENNSYLVANIA

                                               OFFICE OF THF GOVERNOR




                                                   ORDER OF

                       THE GOVERNOR OF THE COMMONW'EALTH OF PENNSYLVANIA

                                     FOR INDIVIDUALS TO STAY AT HOME

           WHEREAS, the l{orld Health Organization andthe Centersfor Disease Control and Prevention
   ('CDC") have declared   a novel coronavirus ("COVID-(9") a "public health emergency ofinternational
   concern," and the a.S. Depafimenl of Health and Human Services ("HHS") Secretary has declared that
   COVID-(9 creates a public health emergency; and

          WHEREAS, as of March 6, 2020, I proclaimed the exislence of a disaster emergency throughout
   the Commonwealth purcuant to 35 Ps. C.S. $ 7301(c); and

           II/HEREAS, I am charged with the responsibility to address dangers facing the Commonwealth
   of Pennsylvania thal result from disasters. 3 5 Pa. C.S. S 730 I (a) ; and

            WHEREA$           inaddition to general pon)ers, daring              a
                                                                              disastu emergency I am
   authorfued speciftcally to control ingress and egrcss to and fiom a disaster area and the movement of
   persons within it and the occupancy of premises therein. 35 Pa C.S. $ 7301Q; and

           I'VHEREAS, in executing the ertraordinary povters outlined above, I am further authoized
   during a disaster emergencJt to issue, amend, and rescind executive orders, proclamations, and
   regulationsandthosedirectivesshallhavetheforceandeffectoflaw.35PaC.S.gT30I(b);and

           WHEREAS, in addilion to my authotity, my Secretary of Health has the authority to determine
   and employ the most eflicient and practical means for the prevention and suppression of disease 7I P.S.
   $ 532(a),71 P.S. 1403(a); and

              WHEREAS, these means include isolation, quarantine, and any other control messure needed
   35 P.S. $ 52L5; and

            WHEREAS, I previously hsued an Order limited to speciJied counties directing "Individuals to
   Stay at Home" on March 23,2020, and amended March 24, March 25, March 27, March 28, March 30,
   and March 3 1, 2020; and

        WHEREAS, as of April I, 2020, the Commonwealth of Pennsylvania has 5,805 positive                cases   of
   COWILI9 in sirty counties and reports 74 deaths from the virus.

           NOIV THEREFORE, purcuant to the authority vested in me and my Administtstion by the laws
   of the Commonwealth of Pennsylvania, I do hereby ORDER and PROCLAIM asfollows:

   Section    I:   Order to Stay at Home

             All individuals residing in the Commonwealth arc ordered to stq) at home except as needed to
   access,  suppoil, or provide life-sustaining business, emergenc!, ot government services. For employees
   of life-sastaining businesses that remain open, thefollowing chilil care services may remain open: group
   andfamily child care providers in a residence; child carefacilities operating under a waiver granted by
   the Department of Human Services Ollice of Child Development and Early Learning; and, part-day
   school    age   programs operating under an exemption from the March    19,   2020, business closure Orders,
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              A    list of life-sustaining businesses thal remain open is attached to and incorporated inlo this
   Order,     In
               addition, businesses          that ate permined           tu remain open           include those
   granted exemptions prior to orfollowing the issuance ofthis Order.

             Individuals leaving their home or place ofresidence to access, support, or provide Efe- sustaining
   services  for themselves, another percon, ot a pet must employ social distancing practices as delined by
   the Cenlers for Disease Control and Prevention, Inilividuals are permitted to engage in outdoor
   activities; however, gatherings of indiviiluals oulsiile of the home are generully prohibited except as may
   be required to access, suppott, or provide life-sustaining services as outlined above.

            Enforcement of this Order will commence immediately fot all counties covered under my priot
   Order directing "Individuals to Stay at Home"tirsl issued March 23,2020, as amended Enforcement
   of this Order will commence at 8:00 PM l{ednesday, April 1, 2020,for all other coanties.

   Section 2: Effective Date ond Duration

              This order is effective immediately and   will remain in effect until April 30, 2020. This Order
   supersedes all previous Orders directing "Individuals to     Stty at Home,"


                                                        GIVEN under my hand and the Seal ofthe Governor, at
                                                        the crtJt of Harrisburg, on this Jirst ilay of April two
                                                        thousand twenry, the year of the commonwealth lhe two
                                                        h undr ed an d toiltt-fo u rt h.
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           EXHIBIT H
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                                      COM NiONWEALTH   OF PENNSYLVANIA
                                          OFFICE OF THE GOVERNOR




                           AMENDMENT TO ORDER OF
             THE GOVERNOR OF THE COMMONWEALTH OF PENNSYLVANU
                       FOR INDIVIDUALS TO STAY AT HOME

           IYHEREAS, as the COVID-|9 disaster emetgency in the Commonwealth continues, my
   Administration has developed a measured and strategic approach to allowing Pennsylvanians
   to teturn to work safely in a manner designed to prevent a resurgence of the virus; and

           IilHEREAS, this strategic phased reopening of the Commonwealth will be done in the
   most effictive, efficient, and fisk-averse method possible to balance out return to economic
   stabiliE, while at the same time continuing to keep Pennsylvanians safe by controlling the
   spreadofdisease; and

          I.VHEREAS,     itl's necessary to extend the requirements in my Stay             At
                                                                                        Home
   Order during the phased reopening process, with the rccognition that such requirements may
   be suspendedfor specific countiesas part ofthegradual and                     strategicapproach to
   reopening the Commonwealth; and

          WHEREAS, as of May 7, 2020, the Commonwealth of Pennsylvania has 52,915 persons
   who have tested positive or meet the requirements as probable cases for COVID-|9 in all sixty-
   seven counties and rcports 3,4 I 6 deaths from the virus.

          NOW THEREFORE, I hereby amend my Order directing "Individuals to Stay at Home"
   datedApril 1,2020,   as amended.

          TheJirst sentence of Section 2 is amended to read      as   follows:

          This Order is effective immediately and will remain in effect through June 4, 2020.

          The Order remains unchanged in every other rcspect.




                                                GIVEN under my hand and the Seul             of the
                                                Governo4 at the city of Harrisburg, on this seventh
                                                day of May two thousand fioenty, the year of the
                                                commonweolth the two hundred and forty-fourth.
